
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-2303

                                    MICHAEL GILL,

                                Plaintiff, Appellant,

                                          v.

                              SCOT THOMAS, ETC., ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. David M. Cohen, U.S. Magistrate Judge]
                                           _____________________

                                 ____________________

                                        Before

                                Selya, Stahl and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Cynthia A. Dill for appellant.
            _______________
            Edward R.  Benjamin  with whom  Anne  Skopp  and Preti,  Flaherty,
            ___________________             ___________      _________________
        Beliveau &amp; Pachios were on brief for appellees.
        __________________


                                 ____________________

                                     May 15, 1996
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                      STAHL, Circuit Judge.   Plaintiff-appellant Michael
                      STAHL, Circuit Judge.
                             _____________

            Gill sought redress under 42 U.S.C.   1983 in Maine's federal

            district  court  for  a   police  officer's  alleged  use  of

            excessive force in arresting  him following a routine traffic

            stop.   After a two-day trial before a magistrate judge,1 the

            jury returned a verdict for the police officer.  Gill appeals

            the  magistrate judge's  denial of  his in  limine  motion to
                                                    __  ______

            preclude  evidence  of  his  prior  misdemeanor  convictions.

            Because we find that Gill  waived his right to appeal the  in
                                                                       __

            limine ruling, we affirm.  
            ______

                                          I.
                                          I.
                                          __

                                      Background
                                      Background
                                      __________

            A.  The Incident
            ________________

                      On the night of November 27, 1993, Officer Scot

            Thomas of the South Berwick, Maine, Police Department stopped

            Michael Gill for driving with defective taillights.  After

            obtaining Gill's driver's license and registration, Officer

            Thomas contacted the police dispatcher from his cruiser and

            learned that Gill's privilege to operate a motor vehicle in

            Maine had been suspended.  Back at Gill's truck, Officer

            Thomas notified Gill of the suspension and the resulting need

            to arrest him.  



                                
            ____________________

            1.  Under  Fed. R. Civ. P.  73, the parties  consented to the
            magistrate judge, rather than the district judge,  conducting
            the jury trial.

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                      Gill and Officer Thomas both agree that the

            following sequence of events occurred thereafter:  (1) Gill

            claimed that the suspension was a mistake, (2) Gill initially

            refused Thomas's request to place his hands on the cruiser,

            (3) Thomas's police dog bit Gill's arm, (4) Gill threatened

            to sue Thomas, and (5) Thomas sprayed Gill's face with mace. 

            Predictably, however, Gill's and Thomas's stories diverge on

            the question of their respective roles in the foregoing

            events.  While Gill maintains that he offered no physical

            resistance to Thomas and therefore the dog's attack and the

            mace were an excessive use of force, Officer Thomas contends

            that Gill physically resisted his attempts to effect the

            arrest and therefore the amount of force was justified.

            B.  The In Limine Motion and Ruling
            ___________________________________

                      Cognizant that his credibility would be the

            decisive factor at the impending jury trial, Gill filed a

            motion in limine seeking to preclude Thomas from inquiring
                   __ ______

            about five of Gill's seven misdemeanor convictions.2  In

            particular, Gill sought to exclude evidence of his two

            convictions for simple assault as well as his convictions for

            resisting arrest, criminal mischief, and willful concealment. 

            Gill argued that because none of the five misdemeanors

            involved dishonesty or false statement or was punishable "by

                                
            ____________________

            2.  Gill  conceded that  his prior  convictions for  filing a
            false  report and  theft by  deception were  admissible under
            Fed. R. Evid. 609(a)(2).

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            death or imprisonment in excess of one year," they could not

            be admitted under Rule 609 of the Federal Rules of Evidence. 

            Thomas responded that while four3 of the five misdemeanors

            were outside the parameters of Rule 609, each was nonetheless

            admissible to impeach Gill's answer to interrogatory #7.

                      Interrogatory #7 asked:

                      If you have been convicted of a crime
                      involving potential punishment of one
                                                        ___
                      year or more or involving dishonesty or
                      ____________
                      moral turpitude, please set forth the
                      nature of the crime, the date of each
                      conviction, the name of each court where
                      the conviction took place, and a full
                      description of any and all sentences
                      imposed.

            (Emphasis added).  Gill replied "No."  Thomas argued that

            Gill's failure to list the five misdemeanors (each of which

            involved terms of imprisonment of "up to one year") as well

            as the convictions for filing a false report and theft by

            deception (both of which patently involved dishonesty)

            constituted a false statement under oath, and Thomas should

            be permitted to impeach Gill with this falsity at trial.

                      After a hearing, the magistrate judge denied the in
                                                                       __

            limine motion and stated that he would permit Thomas to
            ______

            question Gill about his convictions for the limited purpose

            of illustrating the inconsistency between Gill's

                                
            ____________________

            3.  Thomas   argued  that   Gill's  conviction   for  willful
            concealment  may have involved  dishonesty or false statement
            and requested  that the magistrate judge  question Gill about
            the facts surrounding his commission of this offense in order
            to facilitate that determination.

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            interrogatory answer and "the apparent fact that he has been

            convicted for a number of crimes which would have required

            him to answer that interrogatory differently."  The

            magistrate judge also indicated that he would give a limiting

            instruction to the jury if and when such testimony was

            elicited.      

            C.  Presentation of the Misdemeanor Evidence at Trial
            _____________________________________________________

                      After opening arguments, Gill took the stand as his

            own first witness.  In response to his attorney's questions,

            Gill described the events surrounding his arrest and then

            proceeded to enumerate each of his criminal convictions and

            describe the circumstances surrounding them (to the extent he

            could remember).  For instance, after testifying that he had

            been convicted of simple assault on June 10, 1985, Gill

            recalled the circumstances of that crime by stating, "I think

            that was involved again with the DWI."  Gill was alluding to

            his previous testimony about a driving-while-intoxicated

            incident following which he was convicted for resisting

            arrest.

                      Gill then addressed his answer to interrogatory #7. 

            Admitting that his answer was inaccurate, Gill explained that

            he had mistakenly read the interrogatory to be asking about

            felonies and believed that his convictions for filing a false

            report and theft by deception did not involve dishonesty. 

            Finally, Gill squarely addressed his credibility in light of



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            his checkered criminal past and erroneous answer to

            interrogatory #7, testifying as follows:

                      Q:  Mr. Gill, in light of this long
                      criminal history that we've just gone
                      through, including some crimes which
                      involved some kind of dishonesty, how do
                      you expect the jury to believe the story
                      you've just told us about what happened
                      with Officer Thomas?

                      A:  . . . I quit drinking in 1989 with
                      the help of a friend and have been trying
                      since then to turn my life around. . . .
                      Things that I can change about myself and
                      I have been changing, and I have since
                      1989 is I'm not a liar, and I'm not a
                      thief.
                       
                      On cross-examination, Officer Thomas also

            questioned Gill about his answer to interrogatory #7.  For

            each of Gill's convictions, Thomas asked whether Gill had

            listed that particular conviction in his answer to

            interrogatory #7, to which Gill repeatedly answered that he

            had not.  In the course of inquiring about Gill's January

            1983 conviction for resisting arrest and his June 10, 1985,

            conviction for assault, Thomas highlighted what had already

            been brought out on direct, i.e., that both convictions
                                        ____

            involved a police officer who was trying to place Gill in

            custody.

                      Having offered the evidence of his criminal record

            himself, Gill neither requested a jury instruction limiting

            the purpose for which this evidence could be used nor

            objected to Thomas's questions regarding these convictions on



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            cross-examination.  The jury subsequently returned a verdict

            for Officer Thomas, and this appeal ensued.

                                         II.
                                         II.
                                         ___

                                       Analysis
                                       Analysis
                                       ________

                      Gill appeals the magistrate judge's denial of his

            in limine motion, arguing that the five misdemeanor
            __ ______

            convictions were inadmissible under Rule 609 of the Federal

            Rules of Evidence.  Gill maintains that but for the

            magistrate judge having indicated that he would permit Thomas

            to raise them on cross-examination, Gill never would have

            revealed his misdemeanor convictions on direct examination. 

            Our case law instructs us, however, that Gill chose to

            introduce his convictions on direct examination at his peril

            and cannot be heard to complain on appeal of the admission of

            such evidence.

                      In Fusco v. General Motors Corp., 11 F.3d 259, 262
                         _____    ____________________

            (1st Cir. 1993), we held that when a party's in limine motion
                                                         __ ______

            to exclude evidence is denied, she cannot rely on her

            objection to the in limine ruling to preserve the right to
                             __ ______

            appeal the admission of the contested evidence.  She must

            renew her objection at trial "when the evidence is actually

            offered."4  Id.; see also Adams v. Fuqua Indus., Inc., 820
                        ___  ___ ____ _____    __________________

                                
            ____________________

            4.  Fusco also held, however, that where the in limine motion
                _____                                    __ ______
            to  exclude is granted and  the proponent of  the evidence is
            unconditionally  precluded from  presenting  the evidence  at
            trial, the proponent  has preserved the issue for  appeal and
            need not  renew the offer at trial.  11  F.3d at 262-63.  See
                                                                      ___

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            F.2d 271, 274 (8th Cir. 1987) ("[M]otion in limine does not
                                                     __ ______

            preserve error [in subsequent admission of evidence] for

            appellate review."); Petty v. Ideco, Div. of Dresser Indus.,
                                 _____    ______________________________

            Inc., 761 F.2d 1146, 1150 (5th Cir. 1985) ("[A] party whose
            ____

            motion in limine is overruled must renew his objection when
                   __ ______

            the error he sought to prevent is about to occur at trial.").

                      We require this renewal in order to give the

            district court an opportunity to "reconsider the ruling with

            the concrete evidence presented in the actual context of the

            trial."  Fusco, 11 F.3d at 262; see also United States v.
                     _____                  ___ ____ _____________

            Griffin, 818 F.2d 97, 105 (1st Cir.) (holding that "to raise
            _______

            and preserve for review the claim of [evidentiary error], a

            party must obtain the order admitting or excluding the

            controversial evidence in the actual setting of the trial"),

            cert. denied, 484 U.S. 844 (1987).  Without such a
            _____ ______

            requirement, the reviewing court would be forced to speculate

            whether the party who proposed to offer the evidence would

            have done so at trial and whether, if she had offered the

            evidence, the district court would have changed its in limine
                                                                __ ______

            ruling "in the give-and-take of live testimony."  United
                                                              ______

            States v. Nivica, 887 F.2d 1110, 1115-16 (1st Cir. 1989),
            ______    ______


                                
            ____________________

            also United States v.  Holmquist, 36 F.3d 154, 166  n.12 (1st
            ____ _____________     _________
            Cir. 1994)  (discussing situations in which  the proponent of
            evidence  excluded  by a  pretrial in  limine ruling  will be
                                               __  ______
            deemed  to  have  preserved  the  issue  for  appeal  without
            proffering  the excluded  evidence  during the  trial), cert.
                                                                    _____
            denied, 115 S. Ct. 1797 (1995).
            ______

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            cert. denied, 494 U.S. 1005 (1990).  Thus, Gill cannot rely
            _____ ______

            solely on his in limine objection to preserve the evidentiary
                          __ ______

            issue for appeal.   

                      At trial, rather than waiting for Thomas to

            introduce the misdemeanors, objecting, and allowing the

            magistrate judge to reconsider his in limine ruling, Gill
                                               __ ______

            opted to introduce the misdemeanors preemptively to "remove

            the sting" from Thomas's anticipated impeachment.  While this

            may have been a wise tactical decision, as a consequence,

            Gill "opened the door" to Thomas's cross-examination on the

            misdemeanors and thereby eliminated any potential evidentiary

            error.  Moreover, having offered the misdemeanors himself and

            having received the strategic benefit therefrom, Gill cannot

            now be heard to complain that his own offer of such evidence

            was reversible error.  See United States v. Williams, 939
                                   ___ _____________    ________

            F.2d 721, 723-25 (9th Cir. 1991) (holding that by introducing

            evidence of conviction himself defendant waived right to

            appeal in limine ruling that evidence of prior conviction was
                   __ ______

            admissible for impeachment); United States v. Bryan, 534 F.2d
                                         _____________    _____

            205, 206 (9th Cir. 1976) (refusing to allow defendant to

            complain about the admission of evidence about a prior

            conviction when defendant introduced the offending fact in

            the first instance); Shorter v. United States, 412 F.2d 428,
                                 _______    _____________

            431 (9th Cir.) (same), cert. denied, 396 U.S. 970 (1969).
                                   _____ ______





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                      To preserve his in limine objection to the
                                      __ ______

            admissibility of the misdemeanor convictions for this appeal,

            Gill should have refrained from offering the evidence

            himself, waited to see if Thomas introduced them on cross-

            examination, and if so, objected then.  In sum, Gill's own

            action of offering the misdemeanor evidence himself rendered

            it admissible.  Or stated differently, by offering the

            misdemeanor evidence himself, Gill waived his opportunity to

            object and thus did not preserve the issue for appeal. 

                      Affirmed.
                      Affirmed
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